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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM

Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                          RE:    MUNIZ, Cassandra
                                                 Docket Number: 2:04CR00388-10
                                                 CONTINUANCE OF PROBATION
                                                 VIOLATION PROCEEDINGS

Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from June 25th, 2009, to July 2, 2009 at 9:00 a.m.


REASON FOR CONTINUANCE:


This officer will be attending a United States Probation Office District Conference between
June 24, 2009 through June 26th, 2009. The conference is out of town.

                                 Respectfully submitted,


                             /s/Kyriacos M. Simonidis for
                                    TONI M. ORTIZ
                            United States Probation Officer

REVIEWED BY:         /s/Kyriacos M. Simonidis
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer

Dated:        June 11, 2009
              Sacramento, California
              TMO




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RE:    Muniz, Cassandra
       Docket Number: 2:04CR00388-10
       CONTINUANCE OF PROBATION VIOLATION PROCEEDINGS




_____________________________________________________________________

[ X] Continuance is granted

[ ] Continuance is not granted.

[ ] Other:

 Dated: June 17, 2009


                                          ______________________________
                                          MORRISON C. ENGLAND, JR.
                                          UNITED STATES DISTRICT JUDGE




cc:    Docket Clerk, MCE
       Phillip A. Talbert, Assistant United States Attorney
       Candace A. Fry, Defense Counsel




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